 

23 Fiu=.o ___ Loneen
_____ asceron ____ COPY

wo UN|TED STATES D|STR|CT COURT AUG 12 2009
D|STR|CT OF AR|ZONA
AWWRF

 

 

 

 

 

D|STR|CT OF AR|Z%%AFW
UN|TED STATES OF AMER|CA ORDER OF DETENTION PEN£LE&BMI_'f-_
v.
Julian Perez-Gomez Case Number: 09-3359l\/l

 

 

ln accordance with the Bai| Reform Act, 18 U.S.C. § 3142(f), a detention hearing was held on 8/12/09 . Defendant was present
and was represented by counsel. l conclude by a preponderance of the evidence the defendant is a serious flight risk and order the
detention of the defendant pending trial in this case.

F|NDlNGS OF FACT
l find by a preponderance of the evidence that:

The defendant is not a citizen of the United States or lawfully admitted for permanent residence
The defendant, at the time of the charged offense, was in the United States illega||y.

The defendant has previously been deported or otherwise removed.

The defendant has no significant contacts in the United States or in the District of Arizona.

The defendant has no resources in the United States from which he/she might make a bond reasonably calculated
to assure his/her future appearance

The defendant has a prior criminal history.
The defendant lives/works in Mexico.

The defendant is an amnesty applicant but has no substantial ties in Arizona or in the United States and has
substantial family ties to Mexico.

There is a record of prior failure to appear in court as ordered.
The defendant attempted to evade law enforcement contact by fleeing from law enforcement.

|:ll:ll:l l:|l:llj [:ll:l|ElX||X|

The defendant is facing a maximum of years imprisonment

The Court incorporates by reference the material findings of the Pretrial Services Agency which were reviewed by the Court
at the time of the hearing in this matter, except as noted in the record.

CONCLUS|ONS OF LAW
1. There is a serious risk that the defendant will flee.
2. No condition or combination of conditions will reasonably assure the appearance of the defendant as required.

D|RECT|ONS REGARD|NG DETENT|ON

The defendant is committed to the custody of the Attorney Genera| or his/her designated representative for confinement in
a corrections facility separate, to the extent practicab|e, from persons awaiting or serving sentences or being held in custody pending
appea|. The defendant shall be afforded a reasonable opportunity for private consultation with defense counsel. On order of a court
of the United States or on request of an attorney for the Government, the person in charge of the corrections facility shall deliver the
defendant to the United States l\/larshal for the purpose of an appearance in connection with a court proceeding

APPEALS AND THlRD PARTY RELEASE

lT lS ORDERED that should an appeal of this detention order be filed with the District Court, it is counsel's responsibility to
deliver a copy of the motion for review/reconsideration to Pretrial Services at least one day prior to the hearin set before the District
Court. Pursuant to Rule 59(a), FED.R.CR|M.P., effective December 1, 2005, Defendant shall have ten (10 days from the date of
service of a co|§)y of this order or after the oral order is stated on the record within which to file specific written objections with the
district court. ailure to timely file objections in accordance with Rule 59(a) will waive the right to review. 59(a), FED.R.CRlM.P.

|T |S FURTHER ORDERED that if a release to a third party is to be considered, it is counse|'s responsibility to notify Pretrial
Services sufficiently in advance of the hearing before the District Court t allow retrial Services an opportuni y to interview and

investigate the potential third party custodian. 0
A£L¢ '

DATE: g` / l " 0 j
Lawrence (j. Anderson /
udge

United States Magistrate

   

 

